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1    fJELENA MCWILLIAMS
     1601 K STREET NW
2    WASHINGTON, D.C. 2006-1682
     jmcwilliams@cravath.com
3
     Tel. 1-202-869-7710
4

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10                       UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA
11                         SAN FERNANDO VALLEY DIVISION
12   In re                                 Case No. 1:24-bk-10646-MB
13
     SYNAPSE FINANCIAL TECHNOLOGIES, Chapter 11
14   INC.,
                                     SUPPLEMENT TO THE CHAPTER 11
15                                   TRUSTEE’S FOURTH STATUS REPORT
             Debtor.
16                                         DATE: July 3, 2024
                                           TIME: 10:00 a.m. PT
17                                         PLACE: 303
                                           21041 Burbank Boulevard
18
                                           Woodland Hills, CA 91367 and
19                                         Via ZoomGov

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1           TO THE HONORABLE MARTIN BARASH, UNITED STATES BANKRUPTCY JUDGE,

2    THE OFFICE OF THE UNITED STATES TRUSTEE, AND INTERESTED PARTIES:

3           I, Jelena McWilliams (the “Trustee”), the duly appointed, qualified and acting chapter 11

4    trustee for the estate of Debtor Synapse Financial Technologies, Inc. (“Synapse” or the “Debtor”),

5    hereby supplement my fourth “Chapter 11 Trustee’s Status Report” (the “Report”) to inform the Court

6    of an important and extremely time-sensitive development with respect to a dispute with MongoDB,

7    Inc. (“MongoDB”) and of a letter I received from the Federal Reserve after the Report was submitted

8    last night, and represent as follows:

9           A.      MongoDB Dispute
10          On June 18, 2024, counsel for MongoDB, Inc. (“MongoDB”) informed the Trustee’s counsel
11   by email that, effective June 30, 2024, MongoDB would be terminating services on all pending
12   Synapse subscriptions. After receiving this notice, the Trustee, her advisors and Lineage Bank began
13   coordinating to take action to back up copies of Synapse data, records and information from
14   MongoDB’s servers. The Trustee’s advisors worked directly with Lineage Bank employees and
15   independent contractors to begin preserving data, information and records necessary for the
16   reconciliation process underway with the Debtor’s Partner Banks. By June 26, it became apparent
17   that it would not be feasible to remove all data from MongoDB systems in a way that would ensure
18   that all data, records and information could be preserved properly by June 30. The Trustee’s counsel
19   then contacted MongoDB’s counsel to discuss terms pursuant to which access to MongoDB could be
20   extended. The Trustee’s counsel and MongoDB’s counsel discussed the framework of an agreement
21   between June 26 and June 28 that would ensure the Trustee’s continued access to MongoDB’s services
22   until at least July 7, 2024. However, MongoDB’s counsel would not provide assurances that records,
23   data and information would be retained after July 7, 2024 in the event that the Trustee and her advisors
24   were unable to properly migrate all data off of MongoDB by that date.
25          Recognizing that irreparable harm would be caused to the Debtor’s estate, its creditors and end
26   users of the Synapse platform in the event that records, data and information necessary for the
27   reconciliation process were deleted or altered by MongoDB in the event of a termination of services,
28   on July 1, 2024 the Trustee’s counsel sent the letter (the “Demand Letter”) attached hereto as Exhibit A


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1    demanding that MongoDB forbear from removing the Trustee’s access to Synapse’s MongoDB

2    account and demanding that MongoDB forbear from deleting or altering any information or records

3    until they have been properly preserved. As stated in the Demand Letter, the Trustee and her counsel

4    believe that it would violate the automatic stay for MongoDB to interfere with the Debtor’s property

5    to delete or alter the debtor’s records in connection with any termination of service until the Trustee

6    is able to ensure all records, data and information are properly migrated from MongoDB’s servers.

7    This migration process is not simple due to the extremely large volume of data in question and the

8    lack of former Debtor employees to advise the Trustee in this process.

9           The Trustee’s counsel and financial advisors spoke with Mongo DB’s counsel on July 1, 2024
10   to discuss the Demand Letter. During that call, MongoDB’s counsel expressed disagreement with the
11   Trustee’s position that terminating service and deleting Synapse’s records, data and information would
12   violate the automatic stay, and that while MongoDB would not terminate service before July 7, 2024,
13   the Trustee and her advisors should move as quickly as they could to remove anything needed from
14   MongoDB’s system. The Trustee’s counsel and advisors stated that they would work quickly to
15   migrate information from MongoDB’s system, but they reiterated that it was extremely important to
16   Synapse’s estate and end users of Synapse’s platform that no data be destroyed until the Trustee’s
17   advisors could be certain that all information and records were properly migrated.
18          MongoDB then formally responded to the Demand Letter on July 2, 2024, at approximately

19   5:32 p.m. Pacific Time, in the letter attached hereto as Exhibit B (the “MongoDB Letter”). The

20   MongoDB Letter rejected the Trustee’s demand to ensure continued access would be available to

21   MongoDB’s Dashboard. The Trustee and her counsel disagree with numerous factual allegations,

22   characterizations and legal conclusions asserted in the MongoDB Letter. Contrary to MongoDB’s

23   suggestions in their letter, the Trustee, her advisors and third parties, including Lineage Bank, have

24   expended substantial time and effort to develop and implement a plan to migrate data, records and

25   information from MongoDB and began this process immediately after receiving notice that MongoDB

26   intended to terminate service.

27          After receiving the MongoDB Letter, the Trustee’s advisors considered available options and

28   paths forward to ensure that access to important Synapse records, data and information are not lost.


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1    During the course of discussions, they decided to file the Fourth Status Report at approximately

2    6:41 p.m. Pacific Time [Dkt. No. 300], while continuing to evaluate a course of action with respect to

3    this matter. After further discussions, the Trustee and her advisors decided to inform the court of this

4    matter in a supplement to the Trustee’s Fourth Status Report.

5           Although the Trustee will continue to work with her advisors and third parties (including

6    Lineage Bank) to properly and safely migrate records, data and information from MongoDB’s system,

7    it is not certain that they will be successful in migrating all such records, data and information by the

8    end of the day on July 7, 2024. Therefore, the Trustee determined to file this supplement to her Fourth

9    Status Report and wishes to inform the court that, absent reconsideration by MongoDB of the position
10   taken in the MongoDB Letter in the very near term, the Trustee’s counsel intends to file an
11   “Emergency Motion to Enforce the Automatic Stay” to ensure that records, data and information that
12   are of paramount importance to Synapse’s reconciliation process with its Partner Banks are not
13   destroyed or altered by MongoDB.
14          Pending any developments before or during the Status Conference, the Trustee’s counsel will
15   coordinate with the Court to determine scheduling for any motion filed on emergency notice
16          B.      Federal Reserve Letter

17          On June 20, 2024, the Trustee sent a letter to the Federal Reserve, the FDIC, the OCC, FINRA

18   and the SEC to request that these agencies make available to affected end users resources from their

19   respective consumer protection divisions. On July 2, 2024, the Federal Reserve sent a letter of response

20   notifying the Trustee that the agency is monitoring the situation and continuing to intake end user

21   inquiries. The letter is attached hereto as Exhibit C.

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3    DATED: July 3, 2024                          JELENA MCWILLIAMS
                                                  CHAPTER 11 TRUSTEE
4

5
                                                       /S/ Jelena McWilliams
                                                  By: ___________________________________
6
                                                      Jelena McWilliams
7                                                     Chapter 11 Trustee

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                        Exhibit A
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  CRAVATH
  Alexander Gerten
  agerten@cravath.com
  T+1-212-474-1861
  NewYork


  July 1, 2024

        In re Synapse Financial Technologies. Inc.. Case NO. 1:24-bk-10646 (Bankr. C.D. Cal.)

  Dear Mr. Schnitzer:

         We write on behalf of Jelena McWilliams (the "Trustee"), the duly appointed chapter 11
  trustee for the estate of Synapse Financial Technologies, Inc. (the "Debtor") in the above-
  referenced bankruptcy proceedings, concerning recent statements you have made about
  MongoDB's intention to terminate further services on the Debtors' subscriptions as a result of
  unpaid post-petition services.

          MongoDB's systems contain business records and information that are property of the
  Debtor's estate, including records and information regarding the Debtor's historical transactions
  with its partner banks. There are records and information on MongoDB's systems not currently
  found in any other location or medium. Destruction or alteration of these records as a result of
  any termination of service by MongoDB would cause irreparable harm to the Debtor's estate and
  its creditors, including by impeding (or even making impossible) reconciliation of the Debtor's
  ledgers with the ledgers of its partner banks. Completion of this ledger reconciliation process is
  necessary (i) to enable partner banks to accurately distribute over $100 million they hold for the
  benefit of end users of the Debtor's products and (ii) to enable the Trustee and partner banks to
  identify the origin of a $65 - $96 million shortfall in partner bank accounts for the benefit of such
  end users.

         Any entity in possession of property of the Debtor's estate must turn over such property
  to the Trustee pursuant to Section 542(a) of title 11 of the U.S. Code (the "Bankruptcy Code").
  Furthermore, an automatic stay of acts to exercise control over property of the Debtor's estate was
  entered upon the filing of the Debtor's petition for relief under chapter 11 of the Bankruptcy Code
  on April 22, 2024 with the United States Bankruptcy Court for the Central District of California
  (the "Bankruptcy Court"). 11 U.S.C. S 362a)3). No order lifting or modifying the automatic stay
  with respect to the Debtor's records and information contained on MongoDB's systems has been
  entered by the Bankruptcy Court. Destruction, alteration or restriction of the Trustee's access to
  the Debtor's property would constitute a violation of the automatic stay and Section 542(a) of the
  Bankruptcy Code. Violations of the automatic stay constitute contempt of the Bankruptcy Court
  and may result in imposition of damages by the Bankruptcy Court pursuant to Section 105(a) of
  the Bankruptcy Code.

         We request confirmation by 5:00 pm ET on July 2, 2024, that MongoDB will preserve
  the Trustee's access to the Debtor's MongoDB account and will not destroy or alter any of the


  NEW YORK                LONDON                 WASHINGTON, D.C.              CRAVATH,   SWAINE   MOORE LLF

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  NewYork, NY 1000I       London EC2Y 9HR        T+1-202-869-7700
  T+1-212-474-1000        T+44-20-7453-1000      F+1-202-869-7600
  F+1-212-474-3700        F+44-20-7860-1150
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          Debtor's records or information until the Trustee has been able to preserve all such records and
          information. Ifwe do not receive such confirmation by that time, we intend to seek relief from
          the Bankruptcy Court to enforce the automatic stay and turnover provisions of the Bankruptcy
          Code.



                                                           Very truly yours,



                                                                          en

          Edward Schnitzer
          Womble Bond Dickinson LLP
          950 Third Avenue
          Suite 2400
          New York, NY 10022
          Edward.Schnitzer@wbd-us.com

          BY EMAIL




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I   -
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                        Exhibit B
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July 2, 2024

Chapter 11 Trustee, Synapse Financial Technologies, Inc.
c/o Cravath, Swaine & Moore LLP
Two Manhattan West
375 Ninth Avenue
New York, NY 10001
Attn: Jelena McWilliams, Jed Zobitz, Alexander Gerten, Benjamin
Gruenstein, Grace Mooney, Paul Zumbro
jmcwilliams@cravath.com; jzobitz@cravath.com; agerten@cravath.com;
bgruenstein@cravath.com; gmooney@cravath.com;                                                           Edward Schnitzer
pzumbro@cravath.com                                                                                     Partner
                                                                                                        Direct Dial: 332-258-8495
           Re: In re Synapse Financial Technologies, Inc., Case NO.                                     E-mail: Edward.Schnitzer@wbd-us.com
           24-10646


Dear Chapter 11 Trustee’s Counsel:

        We write on behalf of MongoDB, Inc. (“MongoDB”), a creditor of Synapse Financial
Technologies, Inc. (“SFT”). SFT is a self-serve Atlas customer of MongoDB. We are in receipt
of your July 1, 2024 letter (the “Demand Letter”). Despite having numerous weeks to export 1
the data in the MongoDB account but failing to do so, you demand that MongoDB “preserve the
Trustee’s access to the Debtor’s MongoDB account … until the Trustee has been able to preserve
all such records and information.” As such open-ended request is unreasonable and not supported
by any provision of the Bankruptcy Code, it is rejected. Nonetheless, and as was discussed on July
1, 2024, MongoDB agreed to keep access open until July 7th and will honor its agreement,
notwithstanding the Trustee’s actions. As the Demand Letter curiously failed to include the
historical background between the parties, such information will be provided below in order to
provide the complete narrative.

   I.      Background

        MongoDB has provided Atlas services to SFT since 2019. MongoDB continued to provide
such services even after SFT filed for bankruptcy on April 22, 2024, and even after SFT stopped
paying for such services. SFT’s last payment was made on May 10, 2024, and it has failed to make
any payment for the last 7 weeks of services. Due to those non-payments, SFT owes MongoDB
approximately $140,000 for post-petition services that were actual and necessary costs and
expenses of preserving the Debtor’s estate. Despite this sizeable and increasing debt, MongoDB
did not discontinue services when SFT failed to make a required payment on May 15th. It also did


1 An explanation of how to export the data is contained at mongoexport - MongoDB Database Tools

(www.mongodb.com/docs/database-tools/mongoexport/). Additionally, an explanation of how to download backup
snapshots is contained at Restore from a Locally-Downloaded Snapshot
(www.mongodb.com/docs/atlas/backup/cloud-backup/restore-from-local-file/) and an explanation of how to export
the data through mongodump is contained at Mongo Dump (https://www.mongodb.com/docs/database-
tools/mongodump/). The data is about 4.1TB.


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                        Exhibit C
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                                           July 2, 2024

Jelena McWilliams
Synapse Trustee
Cravath, Swaine & Moore LLP
1601 K Street NW
Washington, D.C. 20006

Dear Trustee McWilliams:

        Thank you for your letter of June 20, 2024, to Chair Powell, requesting, in your capacity
as the Chapter 11 bankruptcy trustee for Synapse Financial Technologies, Inc. (Synapse), that the
Federal Reserve Board and other banking and securities regulators assist consumers whose
access to funds has been affected by the Synapse bankruptcy.

       The Federal Reserve would like to express sincere concern for the consumers harmed by
the Synapse bankruptcy. We strongly encourage all relevant parties involved to take the actions
necessary to return money to consumers as soon as possible.

        As noted in your letter, Synapse-related funds are held in accounts at multiple banks that
partnered with Synapse, often in accounts held for the benefit of multiple users. As a result,
identifying exact user balances is a complex process, which involves multiple parties. The
Federal Reserve is the primary federal regulator for Evolve Bank & Trust (Evolve), West
Memphis, Arkansas, which is one of the banks that partnered with Synapse. In that role, we are
responsible for working to ensure that the bank operates in a safe and sound manner and
complies with applicable laws, including laws protecting consumers and preventing money
laundering and other illicit activity. The Federal Reserve expects supervised entities to take all
necessary steps to return customer funds consistent with applicable law. As part of its
supervisory responsibilities, the Federal Reserve will continue to monitor Evolve’s progress in
returning all customer funds affected by Synapse’s bankruptcy.

       The Federal Reserve has dedicated resources for assisting consumers who are
experiencing problems with a Federal Reserve supervised institution. Specifically,
we operate Federal Reserve Consumer Help (FRCH). The FRCH website
(www.federalreserveconsumerhelp.gov) specifically encourages consumers who are
experiencing issues with accessing funds to file a complaint. Consumers can file complaints
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through the FRCH website by utilizing the online form; by fax (1-877-888-2520); or by mail
(P.O. Box 1200, Minneapolis, MN 55480). A consumer may also contact FRCH directly at 1-
888-851-1920 if they need assistance or have questions about filing a complaint. Federal
Reserve staff carefully review the consumer complaints and may contact a consumer to request
information to complete its investigation of the complaint.

        We reiterate our strong encouragement for all of the financial institutions and other
parties involved to coordinate where needed and take the actions necessary to ensure consumers
receive their money as soon as possible.


                                          Sincerely,




                                   Mark E. Van Der Weide




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Cravath, Swaine & Moore LLP, 2 Manhattan West, 375 Ninth Avenue, New York, NY 10001

A true and correct copy of the foregoing document entitled (specify): _________________________________________
SUPPLEMENT TO CHAPTER 11 TRUSTEE’S FOURTH STATUS REPORT___________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
7/3/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Raymond O Aghaian raghaian@kilpatricktownsend.com, ndelman@kilpatricktownsend.com
Ron Bender rb@lnbyg.com
J Scott Bovitz bovitz@bovitz-spitzer.com
Rudy J Cerone rcerone@mcglinchey.com, lgraff@mcglinchey.com;jingargiola@mcglinchey.com
Sara Chenetz schenetz@perkinscoie.com,
docketLA@perkinscoie.com;cmallahi@perkinscoie.com;jkulow@perkinscoie.com;chenetz-sara-perkins-coie-
8670@ecf.pacerpro.com;rleibowitz@perkinscoie.com
Russell Clementson russell.clementson@usdoj.gov
Andrew Michael Cummings andrew.cummings@hklaw.com,
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Jeffrey C Krause jkrause@gibsondunn.com, dtrujillo@gibsondunn.com;jstern@gibsondunn.com
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Krikor J Meshefejian kjm@lnbyg.com
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Paul M Rosenblatt prosenblatt@kilpatricktownsend.com, moroberts@ktslaw.com
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Jason D Strabo jstrabo@mwe.com, jbishopjones@mwe.com
United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
Jeffrey C Wisler jwisler@connollygallagher.com, dperkins@connollygallagher.com
Claire K Wu claire.wu@pillsburylaw.com, irene.hooper@pillsburylaw.com;docket@pillsburylaw.com
Beth Ann R. Young bry@lnbyg.com, bry@lnbyb.com


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 7/3/2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

None.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 7/3/2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

None.



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  7/3/2024                        Robert N. Greenfield                                           /s/ Robert N. Greenfield
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
